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       Exhibit E
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  From:    Shannon@strattonsecurities.com shannon@strattonsecurities.com
Subject:   Settlement-El Campo SSI
   Date:   May 28, 2019 at 12:44 PM
     To:   dgattis@gattislaw.com, Rae Powell rae.powell@icloud.com
    Cc:    Dan Stratton dan@strattonsecurities.com, mjones@henryandjones.com

       Hi Dan and Rae,

       Please see attached settlement agreement for your review and signatures.

       Thanks,

       Shannon




           Settlement-El
           Campo…its.pdf

       Sent from my iPad




                                                                                  El Campo 00159
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                                SETTLEMENT AGREEMENT

       This Settlement Agreement (“Agreement”) is made and entered into by and between

Stratton Securities, Inc. (“Stratton”) and El Campo Ventures, LLC (Dan Gattis and Rae Powell,

hereinafter collectively referred to as “El Campo”) for the purpose of settling the various claims

and controversies between the parties.



                                            RECITALS

       A.      On or about May 2, 2019, Stratton and El Campo entered into a letter agreement

in which the parties agreed to cooperate and work together to sell or lease Stratton’s facilities and

equipment, known as The Studios at Carrizo Springs ("Letter Agreement").

       B.      The United States of America, The Office of the Administration for Children and

Families, The Office of Refugee Resettlement, and National Institutes of Health, (the

“Government”) has indicated it intends to enter into a contract with Stratton for the lease of the

facilities and equipment known as The Studios at Carrizo Springs for a minimum term of three

(3) years and two (2) one-year renewal terms (“Lease “).

       C.      Disputes have arisen between the parties related to the Letter Agreement and the

amount due to El Campo under the Letter Agreement.

       D.      A bona fide dispute exists between the parties both as to liability and the amount

due and the parties desire to settle all claims. The parties have therefore agreed to settle all

claims and disputes between them and have agreed to release each other from any and all claims,

obligations, liabilities, and causes of action as described in the Letter Agreement.


SETTLEMENT AGREEMENT - Page 1!




                                                                                           El Campo 00160
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       NOW, THEREFORE, for and in consideration of the mutual obligations contained herein,

and other good and valuable consideration, the receipt, adequacy, and sufficiency of which is

acknowledged, the parties agree as follows:

       1.      Upon execution and acceptance of a valid and enforceable Lease between Stratton

and the Government, Stratton will discount the Lease with a lending source. Upon receipt of the

funds from the lending source, Stratton agrees to pay El Campo a brokerage fee of $1,750,000.

The estimated acceptance date by the Government is anticipated to be on or about September 1,

2019, however, there is no guarantee that acceptance will occur by that date.

       2.      Stratton, for good and valuable consideration, the receipt and sufficiency of which

is hereby acknowledged, hereby fully releases and forever discharges and does for itself, its legal

representatives, assigns and all persons or entities in privity with it, remise, give up, quit-claim,

settle, compromise, release and forever discharge El Campo, and their present and former legal

representatives, successors, employees, agents, officers, members, managers, attorneys, and

assigns of and from all rights, demands, claims, obligations, causes of action, actions, suits,

controversies, and damages, with respect to and from all manner of actions, suits, agreements,

claims and demands, whatsoever, whether known or unknown, which Stratton ever had, may

have had, now has, or may have, including claims for attorneys' fees, interest or costs, with the

exception of the obligations set forth in this Agreement.

       3.      El Campo, for good and valuable consideration, the receipt and sufficiency of

       which is hereby acknowledged, hereby fully releases and forever discharges and does for

       themselves, their legal representatives, assigns and all persons or entities in privity with


SETTLEMENT AGREEMENT - Page 2!




                                                                                           El Campo 00161
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      them, remise, give up, quit-claim, settle, compromise, release and forever discharge

      Stratton and its present and former legal representatives, parent and subsidiary

      corporations, affiliate corporations, successors, employees, agents, officers, shareholders,

      directors, attorneys, insurance companies and assigns of and from all rights, demands,

      claims, obligations, causes of action, actions, suits, controversies, and damages, with

      respect to and from all manner of actions, suits, agreements, claims and demands,

      whatsoever, whether known or unknown, which El Campo ever had, may have had, now

      has, or may have, including claims for attorneys' fees, interest or costs, with the exception

      of the obligations set forth in this Agreement.

      4.     The parties agree to keep the terms, conditions, and payment referenced in this

      Agreement confidential. At all times after the execution of this Agreement, El Campo

      will hold in strictest confidence and will not disclose, use, provide access to, or publish

      any information related to Stratton, Stratton’s facilities and equipment, or the Lease and

      agree that all such information, whether prepared by El Campo or otherwise coming into

      El Campo’s possession, shall remain confidential and the exclusive property of Stratton.

      El Campo further agrees that during the time the Lease, and any extensions of the Lease,

      are in effect, they shall not at any time divert away or attempt to divert away any business

      from Stratton, or Stratton’s facilities and equipment, to another facility or location, or

      company, business, or individual. Upon execution of this Agreement, El Campo agrees

      to have no further communication with any third party, including the Government,




SETTLEMENT AGREEMENT - Page 3!




                                                                                         El Campo 00162
      Case 1:20-cv-00560-RP Document 113-5 Filed 09/29/21 Page 6 of 10




      concerning Stratton, Stratton’s facilities and equipment, or the Lease, and will forward

      any inquiries or communications regarding same to Stratton.

      5.     El Campo and Stratton acknowledge and agree that the releases set forth above

      are general releases. They expressly represent that they understand the risk of waiving

      any and all claims for damages which exist but are not known or suspected to exist

      whether through ignorance, oversight, error, negligence, or otherwise, and which, if

      known, would materially affect their decision to enter into this Agreement.

      6.     It is understood and agreed that this is a compromise of disputed claims and that

      the consideration transferred herein is to compromise disputed claims, avoid litigation

      and buy peace, and that nothing contained herein shall be construed as an admission of

      liability by, or on behalf of any of the parties to this Agreement, any and all such liability

      being expressly denied.

      7.     All parties warrant and represent to all other parties to this Agreement:

      A.     that they are the current legal and beneficial owners of all claims, liabilities, and/

             or causes of action released by virtue of this Agreement;

      B.     that they were represented by attorneys in connection with the negotiation,

             drafting, and execution of this Agreement as follows:

             1.      Stratton, by Michael L. Jones of Henry & Jones, L.L.P., 16901 Dallas

                     Parkway, Suite 202, Addison, Texas 75001;

             2.      El Campo and Gattis, by Dan Gattis, 213B W. 8th Street, Georgetown,

                     Texas 78626;


SETTLEMENT AGREEMENT - Page 4!




                                                                                          El Campo 00163
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           C.   they have, either personally or through attorneys, fully investigated to their full

satisfaction, all facts surrounding the various issues and are fully satisfied with the terms and

effects of this Agreement, and have consulted with their attorneys regarding the terms and effects

of this Agreement;

           D.   that (i) this Agreement is executed without reliance upon any statement or

representation by any other party or their agent, except as herein set forth; and (ii) such party is

entering into this Agreement for the consideration set forth herein solely in reliance on such

party's own independent judgment after consultation with such party's legal counsel;

           E.   that they have read and understand all aspects of this Agreement, and all of its

effects;

           F.   that they have executed this Agreement as a free and voluntary act of their own

free will without any threat, force, fraud, duress, or coercion of any kind;

           G.   that at the time of execution of this Agreement they were completely capable of

understanding the character of their acts and deeds;

           H.   that each party has the full right and authority to enter into this Agreement and

that each party signing this Agreement is authorized to do so; and

           I.   that each party has been given a reasonable period of time within which to

consider this Agreement.

           8.   This Agreement contains the entire agreement between the parties and supersedes

any and all prior agreements, arrangements, or understandings between the parties.         No oral




SETTLEMENT AGREEMENT - Page 5!




                                                                                          El Campo 00164
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understandings, statements, promises or inducements contrary to the terms of this Agreement

exist. The terms of this Agreement cannot be modified or terminated orally.

       9.      This Agreement is and shall be binding upon and inure to the benefit of the parties

and their respective, successors, assigns, legal representatives, servants, employees, and agents.

       10.     This Agreement shall be governed by, construed, and enforced in accordance with

and subject to the laws of the State of Texas.

       11.     This Agreement shall be executed in a number of identical counterparts, each of

which shall be deemed an original for all purposes.

       12.     This Agreement shall not become binding on any party to it, unless and until it is

signed by all parties to this Agreement.



EL CAMPO VENTURES, LLC



____________________________          ____            ____________________________          ____

Dan Gattis                     Date                   Rae Powell                    Date




STRATTON SECURITIES, INC.



____________________________          ____

Dan Stratton                   Date


SETTLEMENT AGREEMENT - Page 6!




                                                                                           El Campo 00165
                Case 1:20-cv-00560-RP Document 113-5 Filed 09/29/21 Page 9 of 10


  From:    Dan Gattis dgattis@gattislaw.com
Subject:   Re: Settlement-El Campo SSI
   Date:   May 28, 2019 at 2:33 PM
     To:   Shannon@strattonsecurities.com shannon@strattonsecurities.com
    Cc:    Rae Powell rae.powell@icloud.com, Dan Stratton dan@strattonsecurities.com, mjones@henryandjones.com

       Shannon,

       Thanks. Can you send me a copy in word format please that I can redline and send back?


       Dan Gattis


           On May 28, 2019, at 12:16 PM, Shannon@strattonsecurities.com <shannon@strattonsecurities.com> wrote:

           Hi Dan and Rae,

           Please see attached settlement agreement for your review and signatures.

           Thanks,

           Shannon

           <Settlement-El Campo SSI edits.pdf>


           Sent from my iPad




                                                                                                                  El Campo 00166
               Case 1:20-cv-00560-RP Document 113-5 Filed 09/29/21 Page 10 of 10


  From:    Shannon Stratton shannon@strattonsecurities.com
Subject:   Re: Settlement-El Campo SSI
   Date:   May 28, 2019 at 2:54 PM
     To:   Dan Gattis dgattis@gattislaw.com
    Cc:    Rae Powell rae.powell@icloud.com, Dan Stratton dan@strattonsecurities.com, mjones@henryandjones.com




       ​On 5/28/19, 3:33 PM, "Dan Gattis" <dgattis@gattislaw.com> wrote:

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           Dan Gattis


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           Sent from my iPad




            Settlement-El
           Campo…its.doc




                                                                                                                  El Campo 00167
